                Case 2:17-cv-01731-TSZ Document 99 Filed 04/09/19 Page 1 of 1



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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE

 7
      STRIKE 3 HOLDINGS, LLC,
 8                          Plaintiff,
                                                      C17-1731 TSZ
 9         v.
                                                      MINUTE ORDER
10    JOHN DOE (73.225.38.130),
11                          Defendant.

12
        The following Minute Order is made by direction of the Court, the Honorable
13 Thomas S. Zilly, United States District Judge:
          (1)     The deferred portion of the parties’ stipulated motion to extend certain
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   deadlines, docket no. 85, is GRANTED in part and DENIED in part as follows. The
   deadline for filing discovery motions is EXTENDED to May 20, 2019, the deadline for
15
   completing discovery is EXTENDED to June 19, 2019, and the deadline for mediation is
   EXTENDED to July 15, 2019. The motion for extension is otherwise DENIED.
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          (2)     The Clerk is directed to send a copy of this Minute Order to all counsel of
17 record.

18         Dated this 9th day of April, 2019.

19
                                                    William M. McCool
20                                                  Clerk

21                                                  s/Karen Dews
                                                    Deputy Clerk
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     MINUTE ORDER - 1
